
OPINION ON REMAND
PER CURIAM.
Our original decision in this case, City of Miami v. Paredes, 614 So.2d 1163 (Fla. 1st DCA 1993), was reviewed by the supreme court as a companion case to City of Miami v. Bell, 634 So.2d 163 (1994). Pursuant to the supreme court’s opinion in Bell, we vacate those portions of our original decision which affirmed the award by the judge of compensation claims of benefits, plus penalties, for offsets taken by the City of Miami prior to July 14, 1989; reverse the award of such benefits, plus penalties; and remand for further proceedings consistent with the supreme court’s decision in Bell. That portion of our original decision which deleted from the order of the judge of compensation claims the language “subject to a lien in favor of FIPO of $513.57 per month,” substituting the language “subject to an offset in excess of the average monthly wage, which offset in this case is $513.57,” remains unaffected.
REVERSED and REMANDED, with directions.
ERVIN, BOOTH and WEBSTER, JJ., concur.
